                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                                   NO. 5:06 CR 22-4



 UNITED STATES OF AMERICA,

                Plaintiff,

        vs.
                                                ORDER
 JEREMIAH LAMAR TEAGUE,

                Defendant.



       UPON MOTION OF THE DEFENDANT JEREMIAH LAMAR TEAGUE (doc. no. 1241)

with the consent of the UNITED STATES OF AMERICA, and pursuant to United States v.

Simmons, 649 F.3d 237 (4th Cir. 2011), the Court hereby ORDERS that Defendant’s

sentence and term of commitment to the United States Bureau of Prisons is AMENDED to a

term of time served, with a term of supervised release of five years.

       All other terms and conditions of the Defendant’s sentence remain unchanged. (Doc.

No. 652: Judgment).

       The Clerk of Court is directed to certify a copy of this ORDER to both the United

States Bureau of Prisons and the United States Marshal for the Western District of North

Carolina.

 Signed: November 30, 2016




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